                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                               CHATTANOOGA DIVISION

 HORACE JENKINS,                                     )
                                                     )
        Plaintiff,                                   )
                                                     )
 V.                                                  )       No. 1:22-cv-00130-TRM-SKL
                                                     )
 MILLER INDUSTRIES, INC.,                            )
                                                     )
        Defendant.                                   )


                     STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties hereby stipulate that all claims by

 Plaintiff against Defendant be and hereby are dismissed with prejudice.




                                              Respectfully submitted,

                                              /s/ R. Scott Jackson, Jr.
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                                                Attorney for Defendant




                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 14th day of April, 2023, a true and correct copy of the foregoing
 was filed electronically with the Clerk of Court to be served by operation of the Court’s electronic
 filing system on William A. Blue, Jr. and Jill A. Evert, Constangy, Brooks, Smith & Prophete,
 LLP, 750 Old Hickory Blvd, Suite 260-2, Brentwood, TN 37027.

                                                /s/ R. Scott Jackson, Jr.
                                                R. Scott Jackson, Jr.




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